4:08-cr-03148-RGK-CRZ         Doc # 548   Filed: 02/18/15   Page 1 of 1 - Page ID # 1665




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                      Plaintiffs,                             4:08CR3148
      vs.
                                                                ORDER
CHAD W. FERGUSON,
                      Defendant.


       The court has orally examined the financial status of the defendant in support of
Defendant’s request for appointed counsel. After a review of the Financial Affidavit, the
court finds the above-named defendant is currently eligible for appointment of counsel
pursuant to the Criminal Justice Act, 18 U.S.C. §3006A, and Amended Criminal Justice
Act Plan for the District of Nebraska.

       Accordingly,

       IT IS ORDERED:
       1)     The Federal Public Defender for the District of Nebraska is appointed, and
              Jessica Milburn shall promptly enter an appearance as counsel for the above
              named defendant.

       2)     The Clerk shall provide a copy of this order to the Federal Public Defender
              for the District of Nebraska and to the appointed attorney.

       February 18, 2015.

                                                BY THE COURT:
                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge
